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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                                                       CASE NO.: 17-23640-BKC-EPK
                                                                    PROCEEDING UNDER CHAPTER 13

IN RE:

SHAWN THOMPSON
XXX-XX-5883
MARCEN MORRIS
XXX-XX-5633

_____________________________/
DEBTORS

                    TRUSTEE'S MOTION TO DISMISS AND CERTIFICATE OF
                    SERVICE OF COURT GENERATED NOTICE OF HEARING

   COMES NOW, Robin R. Weiner, Standing Chapter 13 Trustee in the above-referenced bankruptcy
case ("Trustee"), and files her Motion to Dismiss pursuant to 11 U.S.C. §1307(c) for the reason(s) set forth
below:

   1.    Failure to provide the Chapter 13 Trustee with tax returns as required by 11 U.S.C. §1308 and
         pursuant to the debtors' confirmed Plan;

    WHEREFORE, your movant recommends it is in the best interest of the creditors and the estate that
this petition under Chapter 13 be dismissed.

   I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Motion to
Dismiss and Certificate of Service of Court Generated Notice of Hearing was served, via U.S. first class
mail, certified mail and/or CM/ECF, upon the parties listed on the attached service list this 3rd day of
August, 2019.

                                                                 /s/ Robin R. Weiner
                                                             _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154
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                                                                         MOTION TO DISMISS
                                                                  CASE NO.: 17-23640-BKC-EPK

                                   SERVICE LIST

COPIES FURNISHED TO:

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